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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                            )
    In re:                                                  )     Chapter 11
                                                            )
    WARDMAN HOTEL OWNER, L.L.C., 1                          )     Case No. 21-10023
                                                            )
                              Debtor.                       )
                                                            )


                  DECLARATION OF JAMES D. DECKER IN SUPPORT OF THE
                  DEBTOR’S CHAPTER 11 PETITION AND FIRST DAY RELIEF


             I, James D. Decker, hereby declare under penalty of perjury:

             1.     I am the sole and independent manager (the “Manager”) of the above-captioned

debtor and debtor in possession (the “Debtor” or the “Company”). I have served as the Debtor’s

Manager since October 1, 2020. I am generally familiar with the Debtor’s business and financial

affairs, and books and records. I am above 18 years of age and I am competent to testify.

             2.     I am authorized to submit this Declaration on behalf of the Debtor. Except as

otherwise indicated, all facts set forth in this Declaration are based upon my personal knowledge

of the Debtor’s operations and finances, information learned from my review of relevant

documents, and information I have received from the Debtor’s advisors. If I were called upon to

testify, I could and would testify competently to the facts set forth herein on that basis.




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      The last four digits of the Debtor’s U.S. tax identification number are 9717. The Debtor’s mailing address is 5035
      Riverview Road, NW, Atlanta, GA 30327.




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                                      Preliminary Statement

        3.       The Debtor is the sole owner of the real property located in Woodley Park,

Washington, D.C. The property was formerly operated as the Washington Marriott Wardman Park

Hotel (the “Hotel”), a convention hotel. The Debtor has now permanently closed the Hotel.

        4.       The Hotel has a long and storied history. It opened in 1918, just days after the end

of World War I and in the midst of the Spanish flu pandemic. Over the last century, the Hotel has

been home to former presidents Herbert Hoover, Dwight Eisenhower and Lyndon Johnson, former

U.S. Senators Barry Goldwater and Bob Dole, plus many other politicians and dignitaries.

        5.       Since 1998, and until immediately before the filing of this Chapter 11 Case, the

Hotel was managed by Marriott Hotel Services, Inc. (“Marriott”) pursuant to a long-term

management agreement. Despite its history and prime location in our nation’s capital, the Hotel

has struggled to remain profitable due to a number of factors, including consistent and growing

competition in the greater Washington area, including competition generated by other Marriott

properties, and Marriott’s failure to act as a reasonable and prudent operator of the Hotel. As a

result, under Marriott's stewardship, the Hotel's net operating income dropped from $24.77 million

in 2010 to $5.02 million in 2018, an 80% drop. Throughout this same period, the Hotel owners

continued to make capital investments in the Hotel to improve the property and make up for the

revenue shortfall.

        6.       This year, the Debtor’s financial condition has been exacerbated by the COVID-19

pandemic, which has resulted in a cessation of all revenues from Hotel operation. On March 25,

2020, Marriott closed the Hotel, furloughed most of its staff, and issued notices under the WARN




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Act to substantially all employees.              Despite the termination of operations and furlough of

employees, the Hotel continued to lose approximately $1.5 million per month.2

          7.       At the same time revenues dried-up due to COVID-19, Marriott began to send

repeated calls for working capital to the Debtor. On March 16, 2020, with no warning, Marriott

demanded that Owner fund $10 million in working capital pursuant to the hotel management

agreement between the Debtor and Marriott. Further demands followed in the months after the

shutdown. The Debtor rejected each of these demands, in part, because Marriott failed to

demonstrate that these vast sums were reasonably necessary for the operation of a shuttered,

inoperative Hotel. After months of unproductive negotiation, Marriott filed a complaint against

the Debtor in Maryland state court alleging breach of contract. Marriott also sought an injunction

to compel the Debtor to pay its pending demands for working capital. On December 8, 2020, the

Maryland state court entered an order compelling the Debtor to pay money to Marriott upon

Marriott's issuance of unilateral, future capital call notices.

          8.       In light of the injunction from the Maryland state court, and with no cash or

available source of funding to pay ongoing capital calls, prior to the Petition Date the Debtor

permanently closed the Hotel and terminated the hotel management agreement with Marriott.

Through this Chapter 11 case, the Debtor intends to conduct an orderly sale of substantially all of

its assets, distribute the proceeds of such sale to creditors, and wind down its remaining business.

          9.       To familiarize the Court with the Debtor and the relief the Debtor seeks on the first

day of this chapter 11 case, this Declaration is organized into three sections. The first section

provides background information with respect to the Debtor’s business and corporate history, as

well as its prepetition capital structure. The second section describes the circumstances


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    All Hotel profit and loss information is provided upon information and belief based upon Marriott reporting.



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surrounding the commencement of this chapter 11 case. The last section sets forth the relevant

facts in support of each of the pleadings filed in connection with this chapter 11 case (collectively,

the ”First Day Motions”).

                                       General Background

I.      The Company’s Business

        10.      The Company owns real property located at 2600 Woodley Road NW, in the

Woodley Park neighborhood of Washington, D.C; a prime location adjacent to the Woodley Park

station of the Washington Metro. The real property was previously operated as Washington

Marriott Wardman Park, a convention hotel. The 1,152-room Hotel contained 195,000 square feet

of total event space and 95,000 square feet of exhibit space, and was the third largest hotel by room

count in Greater Washington. The Debtor permanently closed the Hotel prior to the Petition Date

and intends to market the real property to potentially interested parties during this Chapter 11 case.

        B.       History

        11.      Built between 1917 and 1918 by local developer Harry Wardman and designed by

local architect Frank Russell White, the Wardman Park Hotel opened on November 23, 1918. The

hotel was hugely successful, due to the housing shortage caused by Washington's growth during

World War I. In 1928, the hotel was expanded with an eight-story, 350-room residential-hotel

annex (the “Wardman Tower”). That building is listed on the National Register of Historic Places,

the only surviving portion of the original Wardman Park.

        12.      In 1953, the original owners sold the hotel to Sheraton Hotels. Renamed the

Sheraton-Park Hotel, the largely residential hotel was gradually converted to house mainly

overnight guests. Substantial additions were made to the property, transforming it into a full-scale

convention hotel, including large new ballrooms and the 1965 addition known as the Motor Inn




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and later known as the Park Tower. By the late 1970s, it was decided that the 1918 main building

was outdated and unable to be modernized.

        13.      Construction began in 1977 on a modern replacement hotel, immediately adjacent

on the property. When it opened in 1980, as the Sheraton Washington Hotel, the original building

closed and was demolished. In 1998, following a protracted lawsuit against Sheraton by the hotel's

then owners, John Hancock Insurance and the Sumitomo Corporation, Marriott International took

over management of the property, renaming the hotel the Marriott Wardman Park Hotel.

        14.      In 1998, Thayer Lodging Group of Annapolis, Maryland purchased the hotel for

$227 million and spent another $100 million on renovations. In 2005, Thayer Lodging Group sold

the hotel to JBG Smith (“JBG”) and CIM Group (“CIM”) for $300 million.

        15.      In 2014, JBG redeveloped the largely unoccupied western portion of the hotel's

property, constructing an apartment building designed to mirror the historic Wardman Tower. It

was first named Wardman West, but was later renamed The Woodley. The Woodley units were

sold for a record-breaking $920K each.

        16.      In 2015, JBG renovated floors 3-8 of the Wardman Tower into 32 luxury

condominiums. The first and second floors remain part of the Hotel. The condominiums are

separate from the hotel and do not share an entrance or connecting interior passageways.

        17.      In January 2018, JBG and CIM, which had owned roughly equal interests in the

Hotel, sold a controlling interest in the property (66.67%) to PL Wardman Member, LLC, an

affiliate of Pacific Life Insurance Company (“Pacific Life”), with JBG and CIM each retaining

16.67% in connection with the restructuring of the then-existing secured financing. In February

2020, CIM Group surrendered its interest in the hotel to JBG, leaving affiliates of Pacific Life and




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JBG as the sole owners (with PL Wardman Member, LLC owning 80% and the JBG affiliate

owning 20%).

        18.      On September 3, 2020, PL Wardman Member, LLC filed a petition for dissolution

of the Debtor in Delaware court citing a deadlock with JBG regarding a plan to address the

deteriorating financial condition of the Hotel. On October 2, 2020, PL Wardman Member, LLC

dismissed the complaint. As of the Petition Date, Pacific Life indirectly owns 100% of the interests

in Debtor as a result of its ownership of PL Wardman Member, LLC, the Debtor’s sole member.

        C.       Property Description

        19.      The Debtor’s real property is comprised of three contiguous parcels, irregular in

shape, and generally bound by Connecticut Ave. and 24th Street to the east; Woodley Road to the

north; multi-family residential to the west; and Calvert St. and multi-family residential to the south.

The site is considered to be fully improved and no excess or surplus land exist. The land is gently

rolling, but it is generally above the grade of the surrounding roadways.

        20.      The primary improvements on the Debtor’s real property include a convention style

hotel with significant meeting space. The Hotel contains 1,152 guest rooms, lobby, registration

area, lobby restaurant, pub, full-service restaurant, health center, business center, jewelry shop, car

rental shop, gift/sundry shop, hair salon, and all necessary back of house and mechanical space to

operate the Hotel. Additionally, the Hotel contains 196,222 sq. ft. of meeting space that is divided

between pre function space, ballrooms, break out rooms, and exhibition space. All public spaces

are located on the lower levels of the property. The guest rooms are arranged in three towers:

                         Wardman Tower (built 1928): 8 floors (floors 1-2 belong to Hotel)

                         Center Tower (built 1978): 11 floors and a basement

                         Park Tower (built 1965): 10 floors




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        21.      Other improvements to the site include an outdoor pool, 665 striped parking spaces

divided between three garages and surface parking, landscaping, signage, property driveways,

sidewalks, curbing, etc.

        D.       Operations

        22.      Prior to the termination of operations, the Hotel’s day to day hotel operations had

been managed by Marriott since 1998. The Company and Marriott were parties to a Hotel

Management Agreement (the “HMA”) governing Marriott’s services. The HMA was set to expire

on December 28, 2029, but would have automatically extended for three ten-year periods unless

Marriott gave notice of its intent not to renew the HMA a year before each of the ten-year periods

expired.

        23.      Under the HMA, Marriott—among other things—recruits, employs, supervises,

directs, and discharges its employees; books group and transient business; arranges for and

supervises the Hotel’s public relations and advertising; prepares the Hotel’s marketing plans;

procures all inventory and replacement dining ware, uniforms, and other supplies used in the

Hotel’s public spaces and guest rooms; and plans, executes, and supervises Hotel repairs and

management, and purchases of Hotel furniture, fixtures, appliances, computers, and other

equipment. (HMA § 1.02(A)).

        24.      Pursuant to the negotiated terms of the HMA, Marriott was given broad discretion

“in all matters relating to the management and operation of the Hotel,” including all employment

decisions, account, marketing and promoting the Hotel. (HMA § 1.02(A).) At the same time,

Marriott agreed to “act as a reasonable and prudent operator of the Hotel” and “be responsible for

the proper and efficient operation of the Hotel.” (HMA § 1.02(B).)

        25.      While the parties contemplated that revenues from bookings would cover the

operational expenses of the Hotel, the HMA provides that the Debtor shall “advance any additional


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funds necessary to maintain Working Capital at levels determined by Manager to be reasonably

necessary to satisfy the needs of the Hotel as its operation may from time to time require consistent

with the Annual Operating Projection or as a result of ‘unforeseen circumstances’[.]”. (HMA §

4.05.). Any request by Marriott for working capital from the Debtor must be (1) “reasonably

necessary” to satisfy the Hotel's needs, (2) consistent with the annual budget, and (3) consistent

with Marriott's standard of performance. (HMA § 1.02(B), 4.04, 4.05).

        26.      On March 11, 2020, Mayor Bowser of the District of Columbia issued a declaration

of public emergency due to the onset of the COVID-19 pandemic. Days later, on March 24, 2020,

Mayor Bowser issued an order declaring the closure of all non-essential businesses and a

prohibition on all gatherings of ten or more persons. On March 25, 2020, the hotel ceased

operations save for a limited staff to handle building maintenance and other basic functions.

        27.      Just prior to the Petition Date, and based on my sole and independent authority, the

Debtor made the final decision to close the Hotel permanently. On January 11, 2021, prior to filing

the Chapter 11 petition, the Debtor terminated the HMA with Marriott. At the same time, the

Debtor entered into a custodial agreement with PDSI (the “Property Custodian”) to provide

security and limited maintenance for the property.

II.     The Company’s Corporate Structure

        28.      The Debtor was incorporated as a Delaware limited liability company in January

2018. The current Debtor has operated through one or more predecessor companies. The equity

interests of the Debtor is currently owned by PL Wardman Member, LLC, a wholly owned

subsidiary of Pacific Life.




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III.    The Debtor’s Capital Structure and Debt

        29.      As described in greater detail below, as of the Petition Date, the principal amount

of the Debtor’s funded debt obligations totaled approximately $130 million under the Term Loan

Credit Facility described in greater detail herein.

        A.       The Term Loan Credit Facility

        30.      On January 19, 2018, the Debtor obtained a loan from Pacific Life, in the principal

sum One Hundred Twenty-Two Million Five Hundred Thousand and 00/100 Dollars

($122,500,000.00) (the “Prepetition Loan”) pursuant to the terms of that certain Term Loan

Agreement (the “Prepetition Loan Agreement” and, together with any other agreements and

documents executed or delivered in connection therewith, each as amended, restated,

supplemented, waived, or otherwise modified from time to time, the “Prepetition Loan

Documents”) to facilitate Debtor’s purchase of the Hotel and related real and personal property.

As of December 21, 2020, the Debtor was indebted to Pacific Life in respect of the Prepetition

Loan in an aggregate principal amount, not less than $130,537,383 (collectively, together with

accrued and unpaid interest, fees, expenses, and disbursements (including, without limitation, any

accrued and unpaid attorneys’ fees, accountants’ fees, appraisers’ fees, and financial advisors’ fees

and related expenses and disbursements), indemnification obligations, and other charges, amounts,

and costs of whatever nature owing, plus all interest, fees, costs, and other charges thereunder, the

“Prepetition Loan Obligations”).

        31.      The Prepetition Loan was obtained in connection with a recapitalization through

which a previously issued loan from Pacific Life (the “Old Loan”) was satisfied through (i) the

proceeds of a new loan from Pacific Life (the Prepetition Loan), (ii) new equity from the prior

owners of the Hotel, and (iii) a conversion of a portion of the Old Loan (totaling $40 million) into

equity in the Debtor, a newly-formed joint venture.


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        32.      In connection with the Prepetition Loan Obligations, the Debtor granted to Pacific

Life a first-priority security interest in and continuing lien (the “Prepetition Secured Party Liens”)

on “Collateral” and “Secured Property” (the “Prepetition Secured Party Collateral”), as the term

“Collateral” is defined in the Prepetition Loan Agreement and that certain Security Agreement

dated January 19, 2018 between Debtor and Pacific Life and as the term “Secured Property” is

defined in that certain Deed of Trust, Financing Statement and Security Agreement (with

Assignment of Rents and Fixture Filing) dated January 19, 2018 between Debtor, Pacific Life and

the Trustee (as defined therein).

        B.       The Debtor’s Other Obligations

        33.      The Debtor’s main potential unsecured obligation is to its former Hotel manager,

Marriott. That obligation is disputed, and the Debtor has asserted significant claims against

Marriott in the pending litigation. Pursuant to the terms of the HMA, all vendors and service

suppliers for Hotel operations entered into contracts with Marriott. As a result, the Debtor has few

(if any) direct obligations to satisfy the claims of Marriott’s creditors. Moreover, the Debtor has

no employees. As of November 30, 2020, based on information provided by Marriott, the Debtor

estimates the outstanding obligations to the Hotel vendors and other unsecured creditors at

approximately $1.3 million, the vast majority of which are paid by, and the responsibility of,

Marriott.3




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    Out of abundance of caution, the Debtor has included in its creditor matrix all known vendors and service
    providers who previously provided services to Marriott as Hotel manager. Any obligations to these vendors and
    service provides are obligations of Marriott, and the Debtor reserves all rights related to claims of such vendors
    filed in this case.



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                              Events Leading to these Chapter 11 Cases

I.      Declining Operations

        34.      Over the last decade, well before the COVID-19 pandemic upended the Hotel’s

operations and the hospitality industry more broadly, the Hotel languished relative to its peers

under Marriott’s management. From 2010 to 2018 alone, the Hotel’s net operating income plunged

from $24.77 million to $5.02 million, an 80% drop. Marriott repeatedly failed to live up to its

required standards of performance and to fulfill its contractual obligations as set forth in the HMA,

causing this consistent and material decline in the Hotel’s performance.

        35.      The Hotel was designed to cater to and attract group business, and historically

derived the substantial portion of its revenue from large group events. However, since 2011, the

Hotel attracted less and less group business, and significantly trailed its competitors during the last

several years. At peak, the Hotel had 225,000 group room nights annually. In the last full year of

operations (2019), the Hotel failed to achieve 200,000 group room nights. The Hotel has not only

attracted less group business, but the groups that Marriott booked became less profitable. For

instance, after 2013 the Group Revenue per Available Room Index declined by over 15% as a

result of the groups booked at the Hotel by Marriott spending less than other “premium” groups

on other items, such as food and beverage and/or catering. The decline in group bookings was the

subject of constant complaints from the Debtor.

        36.      The central reason for this decline was that Marriott stopped booking premium

groups for the Hotel, instead directing such groups to other Marriott-managed and owned

properties in the D.C. area. In 2012, a Marriott affiliate acquired the Gaylord Hotels brand and

began to manage the 2000-room Gaylord National Resort & Convention Center in Washington,

D.C.’s National Harbor. In 2014, a Marriott affiliate opened the 1100-room Marriott Marquis

Washington, D.C., which has since been labeled as Marriott’s “flagship” in D.C. Following these


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two events, Marriott actively promoted these two hotels for premium group events and conventions

over, and at the expense of, the Hotel.

        37.      Marriott’s failure to secure premium groups was further exacerbated by its failures

in other ways. Marriott was unable (or unwilling) to replace these group bookings with traditional

overnight bookings. Instead of securing either group or traditional overnight reservations itself,

Marriott over-relied on online travel agencies such as Expedia or booking.com, which charge a

high commission for each reservation, further hurting profitability. In addition, Marriott let costs

at the Hotel spiral out of control. The Hotel’s expenses significantly exceeded those of its

competitors, including inflated labor costs well in excess of the agreed collective bargaining

agreement levels.

        38.      Thus, notwithstanding the Hotel’s prominent location and its sizeable convention

and meeting space within Washington, D.C., the Hotel failed to meet operational and performance

goals and, thus, failed to meet financial goals and anticipated profitability.

II.     Shutdown Due to COVID-19

        39.      The Company’s dire financial condition was exacerbated by the COVID-19

pandemic, which resulted in a sharp decline in tourism, the elimination of essentially all business

travel, and the cancelation of all conventions.

        40.      Local ordinances enacted in Washington, D.C during the early days of the

pandemic further restricted the Hotel’s ability to welcome guests. On March 11, 2020, Mayor

Bowser of the District of Columbia issued a declaration of public emergency due to the onset of

the COVID-19 pandemic. Two days later, on March 24, 2020, Mayor Bowser issued an order

declaring the closure of all non-essential businesses and a prohibition on all gatherings often or

more persons.




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        41.      On March 25, 2020, Marriott closed the Hotel. Between March and December of

2020, the Hotel continued to lose approximately $1.5 million per month. Since the start of 2020,

the Hotel had losses totaling more than $19.3 million (through November), and it is projecting

2020 annual losses totaling more than $21 million.

III.    Litigation with Marriott

        42.      On or about March 16, 2020, just as large parts of the country were shutting down

as a result of the COVID-19 pandemic, Marriott served the first of several working capital demands

on the Debtor. Without any legitimate basis or justification, Marriott demanded that the Debtor

fund $10 million of working capital. Marriott made no effort to justify its demand, rotely stating

in a one-page letter only that there would be “insufficient funds necessary to operate the Hotel in

accordance with the requirements of the Management Agreement” due to “the substantial decline

in Hotel performance caused by the recent outbreak of the coronavirus (COVID-19).” Only later

did Marriott claim that this $10 million demand was intended to cover over four months of

anticipated cash flow needs. This figure was not only many times more than what was historically

necessary to operate the Hotel, but was also contradicted by Marriott’s own on-property employees

who admitted the actual amount needed was no more $2.5 million.

        43.      On or about March 19, 2020, the Debtor informed Marriott that it would not fund

$10 million as Marriott did not show such amount was “reasonably necessary to satisfy the needs

of the Hotel” as required by the HMA. Nevertheless, the Debtor agreed that Marriott could use $5

million out of the Hotel’s Furniture, Fixtures and Equipment Reserve (“FF&E Reserve”) account

for working capital needs.

        44.      On May 15, 2020 and June 11, 2020, Marriott and the Debtor, respectively, issued

notices of default to each other under the HMA. In its notice, Marriott demanded, among other

things, that the Company remit $10 million, and agreed to take lesser sums for the month of May


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to fund the ongoing operations of the Hotel. Even at the reduced amount, the Debtor lacked the

funds to satisfy Marriott’s demands.

        45.      Marriott issued additional working capital demands in May 2020 (for $1 million),

May 26, 2020 (for $1.5 million), June 25, 2020 (for $1.3 million), July 24, 2020 (for $2.7 million)

and September 4, 2020 (for $2.2 million). The Debtor rejected each demand because they were

sent expressly in furtherance of Marriott’s baseless March 16 demand for $10 million, they were

procedurally improper under the HMA, and/or because Marriott failed to demonstrate that the

funds were reasonably necessary for the operation of Debtor’s shuttered, inoperative Hotel.

        46.      On September 8, 2020, Marriott sued the Debtor and Pacific Life (as lender) in the

Circuit Court for Montgomery County, Maryland (the “Maryland Court”) for breach of contract

and tortious interference. Marriott’s complaint alleged that the Debtor’s failure to fund the Hotel’s

working capital breached the HMA, and further alleged that Pacific Life’s failure to fund the same

obligations breached the Subordination, Non-Disturbance and Attornment Agreement (the

“SNDA”) between Pacific Life and Marriott.

        47.      Marriott’s lawsuit sought, among other things, specific performance requiring the

Debtor to make the demanded working capital payments, or damages in the same amount. On

September 23, 2020, Marriott also filed a motion seeking mandatory preliminary injunctive relief

to force the Debtor to make working capital payments immediately, even though Marriott

requested the same relief through its original complaint.

        48.      On December 8, 2020, the Maryland Court entered an order preliminarily and

mandatorily compelling the Debtor to pay money to Marriott upon Marriott's issuance of unilateral,

future capital call notices (the “Mandatory Injunction”). Before the Mandatory Injunction was even

entered, Marriott noticed a $2 million capital call. Additional calls from Marriott may be




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forthcoming - the Mandatory Injunction does not limit Marriott’s ability to make capital calls, and

it compels the Debtor to pay each of them as they are issued, under pain of a potential contempt

citation. The Debtor has appealed the Mandatory Injunction.4 The Debtor has also filed significant

counterclaims against Marriott in response to the complaint in the Maryland Court.

          49.     The Debtor has only limited amounts of operating cash, and no viable means to

satisfy Marriott's capital call (let alone more future calls), and, consequently, no lawful or

practically effective means to abide by the Mandatory Injunction. While the Debtor believes that

there is approximately $4.7 million remaining in the FF&E Reserve, and the Debtor had agreed to

previously use certain of these funds to temporarily satisfy the Marriott capital calls, those funds

are the Debtor’s property and were designated for the specific purpose of upgrading the furnishings

of the hotel.

IV.       Termination of HMA with Marriott

          50.     The Mandatory Injunction issued by the Maryland Court placed the Debtor in an

untenable position: it required the Debtor to risk contempt by not paying Marriott’s capital calls

with available cash it didn’t have. Moreover, the Debtor had reason to believe that Marriott’s

capital calls would continue. Marriott maintained in its budget and capital plan that the Hotel

would need a substantial cash infusion nearing $90 million over the next two years, including $63

million in capital expenditures plus $25 million to cover 2020 operational losses.

          51.     The Debtor had no other source of funding for the current and future capital calls.

The Debtor’s sole equity holder and secured lender, Pacific Life, refused to make additional capital

contributions to fund Marriott’s capital calls or provide further needed lending other than through



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      On December 9, 2020, the Debtor filed a motion to stay the Mandatory Injunction in lieu of the appeal. The
      motion was denied by the Maryland Court.



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a debtor in possession financing facility, reasoning that additional funding to meet Marriott’s

demands made no economic sense given (a) Marriott’s refusal to provide financial information in

support of its capital calls and (b) the current shutdown of the Hotel. Further, and separate from its

ability to pay Marriott’s capital calls, the Debtor had no independent resources to pay for the

ongoing security and maintenance obligations other than the cash provided to Marriott pursuant to

the HMA.

        52.      Consequently, even considering the reduced expenses due to the closed state, the

Company lacked the funds to continue to maintain the Hotel. Left with little cash and no other

option to respond to Marriott’s continuing capital calls or fund Debtor’s other obligations outside

of a bankruptcy (including those incurred to maintain and secure the property upon termination of

Marriott), the Debtor was compelled to seek relief from the Bankruptcy Court.5 To support and

finance its operations in Chapter 11, including the payment of security and maintenance

obligations to the Property Custodian, the Debtor negotiated a debtor-in-possession financing

facility with its prepetition lender, Pacific Life.

        53.      The Debtor believes that a sale of the real property will provide the highest and best

recovery to its creditors and stakeholders. The Debtor intends, through this Chapter 11 case, to

market its assets in a thorough and exhaustive process, and ultimately obtain this Court’s approval

of a sale to a buyer providing the highest and best value to the estate. During the marketing process,

the Debtor will seek to keep its property and facilities safe, secure and maintained in order to

maximize value obtained by the sale. Upon closing of the sale, the Debtor shall distribute the



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    In its reply seeking an injunction against the Debtor to compel payment of capital calls, Marriott itself suggested
    that “[i]f the Owner does not have the funds to pay its bills, it could pursue a bankruptcy.” Marriot v. Wardman
    Hotel Owner, L.L.C., Civil Action No. 483406-V, Circuit Court for Montgomery County, Maryland, Reply
    Memorandum by Plaintiff Marriott Hotel Services, Inc. in Support of its Motion for a Preliminary Injunction and
    Other Appropriate Relief, p. 2.



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proceeds to its creditors according to the priorities provided by the Bankruptcy Code, and then

complete a wind down of its estate.

                                 Relief Sought in the Debtors’ First Day Motions

         54.      Contemporaneously herewith, the Debtors have filed a number of First Day

Motions6 in these chapter 11 cases seeking orders granting various forms of relief intended to

stabilize the Debtor’s limited operations, facilitate the efficient administration of this chapter 11

case, and meet the Debtor’s funding needs in this case. I believe that the relief requested in the

First Day Motions is necessary to allow the Debtor to operate with minimal disruption during the

pendency of this chapter 11 case. A description of the relief requested and the facts supporting

each of the First Day Motions is set forth below.

I.       Operational Motions Requesting Immediate Relief

         A.       Debtor’s Motion for Entry of Order Authorizing the Debtor to (A) Continue
                  Operating the Cash Management System, (B) Honor Certain Prepetition
                  Obligations Related Thereto, (C) Maintain Existing Business Forms, and (D)
                  Granting Related Relief (“Cash Management Motion”)

         55.      Pursuant to the Cash Management Motion, the Debtor seeks to continue to operate

its Cash Management System and obtain certain limited relief from the United States Trustee’s

operating guidelines for debtors in possession.

         56.      The Debtor’s Cash Management System is similar to the centralized cash

management systems used by other comparably sized companies to manage cash flow. The Debtor

uses its Cash Management System in the ordinary course to transfer and distribute funds and to

facilitate cash monitoring, forecasting, and reporting. The Debtor maintains daily oversight over




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     Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the respective
     First Day Motions.



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the Cash Management System and implements cash management controls for entering, processing,

and releasing funds, including in connection with United States Trustee fees.

        57.      Because of the disruption that would result if the Debtor was forced to close its

existing bank account, I believe that it is critical that the existing Cash Management System remain

in place. I believe that the relief requested in the Cash Management Motion is in the best interests

of the Debtor’s estate, its creditors, and all other parties in interest, and will enable the Debtor to

continue to maintain its property in chapter 11. Accordingly, on behalf of the Debtor, I respectfully

submit that the Cash Management Motion should be approved.

        B.       Debtor’s Motion for Entry of Interim and Final Orders (I) Approving the
                 Debtor’s Proposed Adequate Assurance of Payment for Future Utility
                 Services, (II) Prohibiting Utility Providers from Altering, Refusing, or
                 Discontinuing Services, (III) Approving the Debtor’s Proposed Procedures for
                 Resolving Adequate Assurance Requests, and (IV) Granting Related Relief
                 (“Utilities Motion”)

        58.      Pursuant to the Utilities Motion, the Debtor seeks entry of interim and final orders:

(a) determining adequate assurance of payment for future utility services; (b) prohibiting utility

providers from altering, refusing, or discontinuing services; (c) establishing procedures for

determining adequate assurance of payment; and (d) granting related relief.

        59.      In connection with the management of its property and facilities, the Debtor obtains

water, waste management, electricity, natural gas, telecommunications, internet, and other similar

services from a number of utility providers. Uninterrupted Utility Services are essential to the

safety and security of the Debtor’s real property and, thus, the overall success of this chapter 11

case. Should any Utility Provider refuse or discontinue service, even for a brief period, the

operation of the Debtor’s property and facilities would be disrupted. Such disruption would

jeopardize the Debtor’s ability to administer their chapter 11 cases and adversely affect the




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Debtor’s sale efforts. Accordingly, I believe that it is essential that the Utility Services continue

uninterrupted during the chapter 11 case.

        60.      The Debtor intends to pay postpetition obligations to the Utility Providers in a

timely manner in the ordinary course of business. The Debtor’s cash, including cash provided by

the Debtor’s DIP financing and access to cash collateral, will provide sufficient liquidity to pay

the Debtor’s Utility Service obligations in accordance with its prepetition practice. To provide

additional assurance of payment, the Debtor proposes to deposit into a segregated account $87,405,

which represents an amount equal to approximately one-half of the Debtor’s expected average

monthly cost of Utility Services in the postpetition period, calculated based on average utility

expenses during the period after the shutdown of Hotel operations due to the Pandemic.

        61.      Therefore, on behalf of the Debtor, I respectfully submit that the Court should

approve the Utilities Motion.

        C.       Motion of the Debtor for Entry of Interim and Final Orders (I) Authorizing
                 Debtor to Obtain Postpetition Secured Financing, (II) Granting Liens and
                 Providing Superpriority Administrative Expense Claims, (III) Granting
                 Adequate Protection to Prepetition Secured Party, (IV) Modifying the
                 Automatic Stay, (V) Scheduling a Final Hearing, and (VI) Granting Related
                 Relief (“DIP Financing Motion”)

        62.      Pursuant to the DIP Financing Motion, the Debtor seeks interim and final orders

(a) authorizing the Debtor to obtain secured postpetition financing on a superpriority basis and to

borrow from time to time, up to $8.0 million (the “DIP Loan”) from Pacific Life (in its capacity

as the lender under the DIP Loan, the “DIP Lender”) pursuant to the terms and conditions of that

certain Senior Secured, Super-Priority Debtor-in-Possession Credit Agreement (the “DIP Loan

Agreement”) attached to the Motion and the ancillary documents thereto (the “DIP Loan

Documents”), (b) granting liens and superpriority administrative expense claims, (c) authorizing

the use of Cash Collateral, (d) modifying the automatic stay, and (e) granting related relief.



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        63.      The Debtor has an urgent and immediate need for access to funds available under

the DIP Loan and the use of the Cash Collateral. Such funding is necessary in order for the Debtor

to have sufficient liquidity to satisfy accruing administrative obligations and to maintain its assets,

consisting primarily of the Hotel. Without immediate access to the DIP Loan and Cash Collateral,

the Debtor would be forced to convert to chapter 7 and liquidate its assets, which would eliminate

any possibility of maximizing the value of this estate. Accordingly, the Debtor strongly urges the

Court to authorize the DIP Loan and continued use of Cash Collateral on the terms contemplated

herein, initially on an interim basis and, following a final hearing, on a final basis.

                 64.      Prior to the Petition Date, given the closure of the Hotel and the need to

fund ongoing maintenance and tax obligations relating thereto, the Debtor recognized a need for

further outside financing and began the process of negotiating additional new money advances

from the Prepetition Secured Party. Although the Debtor considered other financing options, none

were available to the Debtor on a subordinate basis to the Prepetition Loan. Only the Prepetition

Secured Party was willing to provide a junior DIP Loan to the Debtor. After extended arms’ length

and good faith negotiations, the Debtor, in an exercise of its sound business judgment, determined

that the terms of the proposed DIP Loan represent a fair and reasonable outcome for the estate and

should be approved by this Court. Notably, there is no roll-up of the Prepetition Loan through the

DIP Loan Documents. The DIP Loan accrues interest at a non-default rate of only 5.00% per

annum and has no commitment fees, prepayment fees, exit fees, administration fees, or unused

line fees of any kind. The DIP Loan has a maturity date that is July 1, 2021, approximately six

months from the Petition Date. The DIP Loan is also junior to the existing Prepetition Loan with

respect to the Prepetition Secured Party Collateral.




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                 65.      After careful review of available financing options, the Debtor has further

concluded that the DIP Lender’s proposed terms would allow the Debtor to meet its goals and

provide the Debtor with sufficient liquidity on the best available economic terms. Through the

DIP Loan Documents, the Debtor will have access to sufficient liquidity for its ordinary course

operations and accruing administrative expenses pending a sale or reorganization of its affairs. All

negotiations with the DIP Lender were conducted at arms’ length and in good faith. The outcome

of such negotiations is the DIP Loan Agreement pending before this Court.

                 66.      The Debtor now seeks to move forward with the proposed DIP Loan on the

terms set forth in the DIP Loan Documents. Subject to this Court’s approval, the Debtor intends

to draw on the DIP Loan in order to satisfy the Debtor’s ongoing working capital needs through

this restructuring process.

                 Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

statements are true and correct to the best of my knowledge, information, and belief.

 Dated: January 11, 2021                           /s/ James D. Decker
                                                   James D. Decker
                                                   Manager
                                                   Wardman Hotel Owner L.L.C.




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